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                          UNITED STATES DISTRICT COURT
                                                                               JS-6
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

   Case No. SA CV 17-1386-DOC (KESx)                           Date: November 26, 2018

  Title: BILLIE RENE FRANCES LILLIAN POWERS V. THE BANK OF NEW YORK
       MELLON ET AL.

  PRESENT:

                    THE HONORABLE DAVID O. CARTER, JUDGE

               Deborah Lewman                               Not Present
               Courtroom Clerk                              Court Reporter

         ATTORNEYS PRESENT FOR                       ATTORNEYS PRESENT FOR
               PLAINTIFF:                                 DEFENDANT:
                None Present                                None Present



        PROCEEDINGS (IN CHAMBERS): ORDER GRANTING
                                   DEFENDANTS’ MOTIONS TO
                                   DISMISS [244], [246], [249]

         Before the Court are Defendants Commonwealth Title Company’s
  (“Commonwealth”) Motion to Dismiss (“Commonwealth Mot.”) (Dkt. 244); Bank of
  America, N.A. (“BOA”), Nichole Clavadetscher, and Jon Secrist’s (collectively, “BOA
  Defendants”) Motion to Dismiss (“BOA Mot.”) (Dkt. 246); and Mortgage Electronic
  Registration System, Inc. (“MERS”), Select Portfolio Servicing, Inc. (“SPS”), and Bank
  of New York Mellon’s (“BONY”) (collectively, “MERS Defendants”) Motion to
  Dismiss (“MERS Mot.”) (Dkt. 249). The Court finds this matter suitable for decision
  without oral argument. Fed. R. Civ. P. 78; Local Rule 7-15. Having reviewed the
  moving papers and considered the parties’ arguments, the Court GRANTS the motions
  to dismiss.
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  I.     Background

         A.     Facts

         The Court assumes familiarity with the facts of this case. The following facts are
  taken from the Fourth Amended Complaint (“4AC”) (Dkt. 238) and judicially noticeable
  material. See September 19, 2018 Order (Dkt. 212) (granting Defendants’ requests for
  judicial notice of 52 documents).

         As a preliminary matter, the Court notes that the 4AC remains difficult to follow.
  In April 2007, Plaintiff Billie Powers (“Plaintiff”) purchased the real property located at
  40701 Ortega Highway, San Juan Capistrano, CA 92530 (“Property”) from Defendant
  Roger Lee Delong (“Delong”) for $1,700,000. 4AC ¶¶ 19, 104. To purchase the Property,
  Plaintiff obtained a $1,190,000 loan (“Loan”) from Countrywide Bank, FSB
  (“Countrywide”), secured by a Deed of Trust (“DOT”) recorded against the Property on
  July 2, 2007. Id. ¶¶ 30, 104, Ex. B. The beneficiary listed in the DOT was MERS, and the
  trustee was ReconTrust Company, N.A. (“ReconTrust”). Id. ¶ 132. Because Plaintiff did
  not independently qualify for this Loan, Louis J. Hanson and Jacqueline M. Hanson
  (collectively, “Co-Borrowers”) cosigned on her behalf. Id. ¶ 25. The Hansons remained
  on the Property’s title until they requested their names be removed on July 10, 2007. Id. ¶
  27. On this date, Powers and the Hansons transferred the Property to Rancho Sonata,
  LLC (a corporation Powers created) through a “Grant Deed.” Id. Powers took sole
  possession of and began living on the Property on July 2, 2007, until she was evicted on
  September 21, 2017. Id. ¶¶ 19, 75.

        According to Powers, after she obtained the Loan to purchase the Property, the
  Grant Deed was forged by an unspecified party. Id. ¶ 26. The Grant Deed was altered to
  remove the Plaintiff’s name and to include the names Billie Rene Powers, Louise J.
  Hanson, and Jacqueline M. Hanson. Id.

         Six months after taking residence at the Property, Plaintiff contacted Countrywide
  to seek mortgage assistance. Id. ¶ 32. But Countrywide’s employee would only speak
  with Powers if she was three months delinquent on her mortgage payments. Id. Thus, the
  Countrywide employee advised Powers to stop making her mortgage payment. Id.
  Plaintiff apparently has not made a mortgage payment since at least January 2010. See
  MERS RJN (Dkt. 76), Exs. D, H, L, M, N (showing amount in default on the Property
  continuing to rise). On May 19, 2010, MERS recorded an assignment of the DOT
  (“ADOT”), reflecting the assignment of the beneficial interest in the DOT to BONY.


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  4AC ¶ 37. Plaintiff claims that the ADOT was “robo-signed” by Defendant
  Clavadetscher and improperly notarized by Defendant Secrist. See 4AC ¶¶ 17, 39.

         On October 15, 2009, the Trustee’s Deed upon sale was recorded reflecting that
  the Property was sold to Thomas Peppers in a foreclosure sale. MERS RJN, Ex. NN.
  After the foreclosure, Peppers filed an unlawful detainer suit against Rancho Sonata,
  LLC, Powers’ company and the legal owner of the Property. Id., Ex. II. During this time,
  Plaintiff was apparently in financial distress, as she had initiated personal chapter 7
  bankruptcy proceedings. MERS RJN, Exs. Q, R, S, T, U, V, W, X, Y, Z, AA, BB, CC,
  DD, JJ, KK. Notices of defaults continued to be recorded against the Property. See MERS
  RJN, Exs. L, M, N.

          In February 2014, Quality Loan Service Corporation (“QLS”) became the new
  trustee of record. 4AC ¶ 48. On September 25, 2014, QLS recorded a Notice of Default
  on behalf of BONY and SPS (the “Foreclosing Defendants”), reflecting that the Loan was
  approximately $356,429.14 in arrears. Id. ¶ 50; MERS RJN, Ex. N. On September 30,
  2015, QLS caused a Notice of Trustee’s Sale to be recorded against the Property,
  reflecting an unpaid balance of approximately $1,719,511.24. MERS RJN, Ex. O; 4AC ¶
  54. On August 8, 2016, the Property was sold at a trustee’s sale, wherein it reverted to
  BONY. MERS RJN, Ex. P; 4AC ¶ 63. BONY recorded a Trustee’s Deed Upon Sale
  reflecting these results on August 16, 2016. Id.

         B.     Procedural History

         Plaintiff filed this case on August 11, 2017. See generally Complaint (Dkt. 1). On
  September 20, 2017, Plaintiff filed her First Amended Complaint (Dkt. 12), and on
  December 14, 2017, Plaintiff filed her Second Amended Complaint (“SAC”) (Dkt. 32).
  The Court dismissed Plaintiff’s SAC on March 5, 2018, because Plaintiff failed to
  substantively oppose Defendants’ motions to dismiss the SAC. Order Dismissing SAC
  (Dkt. 67). In its Order Dismissing the SAC, the Court warned Plaintiff that it would give
  her an opportunity to file a Third Amended Complaint (“TAC”) and that failure to
  substantively oppose any motion to dismiss the TAC would lead to dismissal of her case
  with prejudice. See Order Dismissing SAC at 2. Plaintiff filed the TAC on March 19,
  2018. The Court dismissed Plaintiff’s TAC on September 19, 2018, with leave to amend.
  Plaintiff filed the 4AC on October 12, 2018. Defendants moved to dismiss, and on
  November 1, 2018, Plaintiff filed the Opposition to Motion to Dismiss (“Opp’n”) (Dkt.
  255).



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         Powers also filed a temporary restraining order to prevent the Defendants from
  taking possession or selling the Property on October 30, 2017. TRO (Dkt. 25). The Court
  denied the TRO. Order Denying TRO (Dkt. 29). Approximately two dozen people filed
  notices of interested parties between late June 2018 and July 2018 to join this matter.
  Interested Parties (Dkts. 123–71). After a hearing, the Court denied Plaintiff’s motion of
  joinder. Order Mot. for Joinder (Dkt. 198). On September 14, 2018, Plaintiff filed yet
  another motion for a preliminary injunction regarding any marketing or sale of the
  property and to return possession of the property to Plaintiff (Dkt. 216).

         Plaintiff has also filed a series of subsequent notices, including the Notice of
  Platiniff’s Reminder (Dkt. 229) and most recently the Notice of Plaintiff’s Affidavit of
  Prepared Statement (Dkt. 258), which are largely difficult to follow.

  II.    Legal Standard

          Under Federal Rule of Civil Procedure 12(b)(6), a complaint must be dismissed
  when a plaintiff’s allegations fail to set forth a set of facts which, if true, would entitle the
  complainant to relief. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009); Bell Atl. Corp. v.
  Twombly, 550 U.S. 544, 555 (2007). The pleadings must raise the right to relief beyond
  the speculative level; a plaintiff must provide “more than labels and conclusions, and a
  formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S.
  at 555 (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). On a motion to dismiss,
  courts accept as true a plaintiff’s well-pleaded factual allegations and construe all factual
  inferences in the light most favorable to the plaintiff. See Manzarek v. St. Paul Fire &
  Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Courts are not required to accept
  as true legal conclusions couched as factual allegations. Iqbal, 556 U.S. at 678. In
  evaluating a Rule 12(b)(6) motion, review is ordinarily limited to the contents of the
  complaint and materials properly submitted with the complaint. Van Buskirk v. Cable
  News Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002); Hal Roach Studios, Inc. v.
  Richard Feiner & Co., Inc., 896 F.2d 1542, 1555 n.19 (9th Cir. 1990).

         An allegation of “fraud or mistake must state with particularity the circumstances
  constituting fraud.” Fed. R. Civ. P. 9(b). The “circumstances” required by Rule 9(b) are
  the “who, what, when, where, and how” of the fraudulent activity. Vess v. Ciba-Geigy
  Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003); see also Neubronner v. Milken, 6 F.3d
  666, 672 (9th Cir. 1993) (“[Rule 9(b) requires] the times, dates, places, benefits received,
  and other details of the alleged fraudulent activity.”). In addition, the allegation “must set
  forth what is false or misleading about a statement, and why it is false.” Vess, 317 F.3d at
  1106 (quoting In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir. 1994)). This

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  heightened pleading standard ensures “allegations of fraud are specific enough to give
  defendants notice of the particular misconduct which is alleged to constitute the fraud
  charged so that they can defend against the charge and not just deny that they have done
  anything wrong.” Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985).

  III.   Discussion

         As a preliminary matter, the Court notes that it has afforded Plaintiff, acting pro
  se, four opportunities to amend her Complaint and has warned Plaintiff to cease frivolous
  pleadings. Most recently, in a forty-one-page order granting motions to dismiss without
  prejudice, the Court held that “Powers is straddling the line of filing a frivolous pleading”
  but denied a motion for sanctions. Dkt. 212 at 39. Despite this guidance, Plaintiff has
  continued to flood the Court with filings, some of which are difficult to follow and do not
  give rise to any claims. See, e.g., Notice of Plaintiffs Affidavit of Prepared Statement for
  the Court (Dkt. 258). Although the federal pleadings standards are flexible, and
  especially so with respect to pro se pleadings, filings must still give fair notice to
  Defendants. See Jones v. Cmty. Redevelopment Agency of City of Los Angeles, 733 F.2d
  646, 649 (9th Cir. 1984). In the forty-one-page opinion, the Court detailed at length the
  flaws in Plaintiff’s Third Amended Complaint. The fourth complaint fails to cure these
  defects. In the Opposition, Plaintiff focuses on the parties’ failure to reach a settlement
  during meet and confers. Opp’n at 4–11. Plaintiff then appears to state criminal claims
  against Defendants’ attorneys for “acting in dishonor bringing a groundless defense.” Id.
  at 12. The Court now turns to each claim asserted in the 4AC.

         A.     Promissory Estoppel Claim

         The Court previously held that the statute of limitations has run on Plaintiff’s
  promissory estoppel claim against all Defendants. See September 19, 2018 Order at 28.
  Plaintiff has not cured this defect.

         The elements for promissory estoppel in California are: (1) a clear and
  unambiguous promise in its terms; (2) reliance by the party to whom the promise is
  made; (3) reliance is reasonable and foreseeable; and (4) the party asserting estoppel must
  be injured by reliance. Grandino v. Wells Fargo Bank, N.A., 236 Cal. App. 4th 411, 416
  (2015). The statute of limitations for a promissory estoppel claim based on an oral
  promise is two years. Newport Harbor Ventures, LLC v. Morris Cerullo World
  Evangelism, 6 Cal. App. 5th 1207, 1224 (2016)).



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          Plaintiff does not allege that any Defendants made any promise to her after August
  2015, two years before this suit was filed. Moreover, the 4AC fails to identify the nature
  of the alleged promise made to her, who made the promise, or what the terms of the
  promise were. See 4AC ¶¶ 137–47. With regards to Commonwealth, it appears to the
  Court that the promise at issue may have been made eleven years ago. Id. at ¶ 140 (“For
  the past eleven (11) years, Plaintiff has been in a fragmented state of mind . . . due to the
  on-going high level of stress in her life, inflicted by Commonwealth Land Title Insurance
  Companies failure to perform under the terms of the Title Insurance Contract owned by
  Plaintiff.”). Elsewhere in the Complaint, Plaintiff references title insurer claims dating
  back to 2012. See id. ¶ 41. With regards to the remaining Defendants, Plaintiff reiterates
  that for “eleven years” she has been affected by “Defendants failure to be transparent and
  not having a meeting of the minds.” Id. ¶ 146. Plaintiff has failed to cure the time-bar
  defects and fails to state a claim for promissory estoppel against any Defendant.
  Accordingly, the Court DISMISSES WITH PREJUDICE Plaintiff’s promissory estoppel
  claim.

         B.     UCL

          The Court previously held that Plaintiff failed to allege any specific unlawful,
  unfair, or fraudulent conduct by Defendants. See September 19, 2018 Order at 36–37.
  “To bring a UCL claim, a plaintiff must show either an (1) ‘unlawful, unfair, or
  fraudulent business act or practice,’ or (2) ‘unfair, deceptive, untrue or misleading
  advertising.’” Lippitt v. Raymond James Fin. Servs., Inc., 340 F.3d 1033 (9th Cir. 2003)
  (quoting Cal. Bus. & Prof. Code § 17200). “A plaintiff alleging unfair business practices
  under these statutes must state with reasonable particularity the facts supporting the
  statutory elements of the violation.” Khoury v. Maly’s of Cal., Inc., 14 Cal. App. 4th 612,
  619 (1993). Indeed, the viability of a UCL claim “depends on the viability of an
  underlying claim of unlawful conduct.” Nool v. NoeQ Servicing, 653 F. Supp. 2d 1047,
  1056 (E.D. Cal. 2009). The statute of limitations for a UCL claim is four years. Cal. Bus.
  & Prof. Code § 17208.

          Plaintiff has not cured the defects pointed out by the Court in its previous Order.
  Plaintiff claims that Defendants engaged in unlawful conduct by “uttering false claims
  and documents, recording documents with known forgeries, not removing falsely
  recorded documents all constitute an unfair business act or practice [sic].” 4AC ¶ 174.
  This is not sufficient notice to the Defendants and fails to allege any specific unlawful,
  unfair, or fraudulent conduct. Moreover, Plaintiff’s claim as pled is time-barred.
  Accordingly, the Court DISMISSES WITH PREJUDICE Plaintiff’s UCL claim.


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         C.     Homeowner Bill of Rights

         The Court previously held that HBOR does not apply retroactively and Plaintiff
  must have been an active borrower on January 1, 2013 for HBOR’s protections to cover
  her. September 19, 2018 Order at 23–26; see Lucioni v. Bank of America, N.A., 3 Cal.
  App. 5th 150, 157 (2016).

          California courts do not apply statutes retroactively unless there is an express
  retroactivity provision or it is very clear from extrinsic sources that the Legislature
  wanted a retroactive application. Meyers v. Phillip Morris Cos., Inc., 28 Cal. 4th 828, 841
  (2002). HBOR took effect on January 1, 2013. Parker v. U.S. Bancorp, No. ED CV 16–
  70–DMG (SPx), 2016 WL 7495824, at *4–5 (C.D. Cal. Sep. 13, 2016); Sanchez v.
  Aurora Loan Servs., LLC, No. CV 13–08846 MMM (RZx), 2014 WL 12589659, at *6
  (C.D. Cal. Mar. 11, 2014). HBOR neither contains an express retroactivity provision nor
  is there well-documented extrinsic evidence that the Legislature wanted HBOR to apply
  retroactively. See Parker, 2016 WL 7495824, at *4–5.

         Powers has not had title to the property since 2009. MERS RJN, Ex. NN
  (conveying deed on the Property to Peppers). Thus, she does not have standing to assert a
  HBOR claim against MERS for actions it took on the Property in 2015 because she did
  not have title to the Property at that time. Plaintiff has not alleged that title has actually
  transferred back to her through the recording of a new Grant Deed. Plaintiff has failed to
  cure the fatal defects regarding standing. Moreover, Plaintiff continues to fail to allege
  specific facts connected to the violations sufficient to state a claim or provide notice to
  Defendants. Accordingly, the Court DISMISSES WITH PREJUDICE Plaintiff’s HBOR
  claim.

         D.     Breach of Contract

         The Court previously dismissed the Breach of Contract claim, specifically
  directing to Plaintiff that any “amendment should include specific factual allegations
  about how the remaining Defendants breached its contract with Plaintiff and how
  Plaintiff performed.” September 19, 2018 Order at 32–31.

         The elements for a common law breach of contract are: (1) the existence of a
  contract, (2) plaintiff’s performance or excuse for nonperformance, (3) defendant’s
  breach, and (4) the resulting damages to the plaintiff. Oasis W. Realty, LLC v. Goldman,
  51 Cal. 4th 811, 821 (2011). The statute of limitations for a contract claim is four years.



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  Cal. Civ. Proc. Code § 337; Gilkyson v. Disney Enters., Inc., 244 Cal. App. 4th 1336,
  1341 (2016).

         Plaintiff’s claim for breach of contract is particularly difficult to follow and is at
  times incoherent. Plaintiff has failed to cure the defects and has pled no allegations that
  she performed her obligations under the DOT, nor allegations about how Defendants
  breached their obligations. Plaintiff fails to satisfy any of the critical elements for a
  breach of contract claim. Accordingly, the Court DISMISSES WITH PREJUDICE
  Plaintiff’s breach of contract claim.

         E.     Conspiracy

         The Court previously held that civil conspiracy is not an independent tort.
  September 19, 2018 Order at 37 (citing Kidron v. Movie Acquisition Corp., 40 Cal. App.
  4th 1571, 1581 (1995)). Rather, it is a legal doctrine that imposes liability on a person
  who, although not committing the tort themselves, shares with the tortfeasor a common
  plan in perpetrating it. Id. Plaintiff’s conspiracy claim must be dismissed because she has
  no remaining viable claims against Defendants. See Kidron, 40 Cal. App. 4th at 1581.
  Accordingly, the Court DISMISSES WITH PREJUDICE Plaintiff’s conspiracy claim.

  IV.    Disposition

       For the foregoing reasons, the Court GRANTS the motions to dismiss and
  DISMISSES WITH PREJUDICE the 4AC.

         The Clerk shall serve the minute order on the parties.


   MINUTES FORM 11
   CIVIL-GEN                                                              Initials of Deputy Clerk: djl




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